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     FEATURED



    Diana Sabau: "we firmly support our employment actions"
    Jason Walker
    Jul 26, 2024




    Utah State University’s new athletics director, Diana Sabau. Photo courtesy of Utah State University.
    By Jason Walker




    LOGAN — Utah State Athletics Director Diana Sabau made a media tour Friday, speaking with
    multiple outlets including an appearance on the Full Court Press with Jason Walker and Eric
    Frandsen on 106.9 The FAN. In that interview, Sabau discussed the recent firings of Blake
    Anderson, Jerry Bovee, Amy Crosbie and Austin Albrecht from their respective positions in the USU
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    athletics department.
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        Explaining both sides of the dispute between Blake Anderson and Utah State


    Interview with Utah State Director of Athletics Diana Sabau - July 26, 2024




    Eric Frandsen and Jason Walker interview Utah State Director of Athletics Diana Sabau about the recent firings of Blake
    Anderson, Jerry Bovee, Amy Crosbie and Austin Albrecht.
    Cache Valley Media Group



    The following summarizes some of the interview from Friday afternoon.

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    Who initiated the investigation?
    When asked about who initiated the investigation, Sabau made a point to clarify that she did not
    have any part in it since she was not hired by Utah State until after the investigation had already
    started, which began in July 2023 and was conducted by the Husch Blackwell Law Firm. Sabau was
    hired in August of 2023.


    "I did not become aware of this independent investigation until I was on campus after I was
    hired," Sabau said. "I was not made aware of the investigation during my interview process. And it
    wasn't until I was on campus until I was told about this investigation. When I was told about the
    investigation, I was simply told that the institution had hired a private firm to investigate crimes
    of sexual violence in violation of Utah State policy and procedures. I was not a part of the
    investigation. I was not told who was investigated, nor was I told of the timeline of the
    investigation, I inherited this."


    On being asked who at Utah State initiated the investigation, Sabau would only say "the
    leadership of Utah State," and when pressed for specifics she repeated that it was "the leadership
    of Utah State."


    Utah State's use of the investigation in firing Anderson, Bovee,
    Crosbie, Albrecht
    According to Sabau, the results of the investigation were given to the USU administration last
    month and at that point they made up their minds on a decision.


    "The Department of Justice has been an integral establishment at Utah State since 2020 because
    of crimes within our football program," Sabau said. "And because of that, when the findings were
    presented to university leadership and the Board of Trustees, actions had to be taken."


    Sabau also said that the oversight from the Department of Justice has been extended (a fact
    announced earlier this year) specifically because of the results of the Husch Blackwell
    investigation.


    Bovee has made public claims that the investigations by Husch Blackwell did not necessarily
    recommend firing himself or others. When asked about that, Sabau said she had to respect the
    ongoing process of Bovee and Crosbie's grievances and that more information would be released
    "at the appropriate time." Both Bovee and Crosbie have until August 1 to submit a grievance
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    regarding their firings.
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    Potential impact on Utah State
    Some accounts of Utah State fans re-considering donations or the purchase of season tickets to
    USU events have popped up online. When asked about the potential impact of firings on season
    ticket sales, Sabau said there hasn't been a negative impact.


    "We have sold more season tickets this year dating back to records of 2018," Sabau said. "So, we
    are not seeing fans asking for refunds or not purchasing their football season tickets. There's a lot
    of excitement in Logan, our fan base, our donors, our investors, they've been really supportive,
    really tremendous."


    One specific instance, confirmed by Sabau, is that the Murdock car dealership group pulled out of
    a deal with Utah State. The dealership provided vehicles for members of the athletic department,
    including Sabau.


    "I want to thank Ben Murdock and his dealership for all the support that they have given to USU
    athletics and our coaches with dealer cars," Sabau said. "He did make the decision to pull back on
    his dealer cars. That's his decision. We appreciate all his support. And we hope that at some
    point, he wants to re-engage with our athletics department."


    Message to fans not happy with firings
    As alluded to, many fans are not pleased with the firings and Sabau was asked about earning the
    trust of fans and what message she wants to send to supporters of Utah State.


    "I deeply understand that and I realize that trust is earned," Sabau said. "But I need the
    community to understand that we are making really hard choices, so that Utah State is safer that
    we are in compliance with national, state and federal and Utah State regulations and policies, and
    that we are creating a safe and healthy environment for our student athletes, our students on
    campus and our communities. We believe in the findings of this investigation, and we firmly
    support our employment actions."




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      Utah State football head coach Blake Anderson, Deputy AD Jerry Bovee to be terminated from positions




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      Utah State continues shake up of athletic department, terminating Senior Woman Administrator Amy
      Crosbie




      Nate Dreiling shares experience of becoming interim head coach, vision for the upcoming season




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      Blake Anderson files 70-page response to termination from USU




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      Here's what Mountain West coaches, athletes had to say about Anderson's departure, Dreiling becoming
      interim HC




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      Jerry Bovee officially files grievance with USU over firing




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      Jerry Bovee responds to claims made by DOJ report




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      USU grievance committee 'expressed concern with Crosbie's termination,' but says USU did not violate its
      policy by firing her



    MORE INFORMATION




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      Former USU Deputy AD Jerry Bovee claims he didn't fail to report misconduct




    Utah State officially fires football head coach Blake Anderson

    Austin Albrecht: 'saddened' by termination from USU but wishes best for Cache Valley, USU student-athletes
    Blake Anderson's attorney publicizes response to USU firing, counters university's claims of misconduct

    More than 100 current and former USU athletes sign letter supporting Bovee, Crosbie, call for investigation into
    firings
    Utah State, Diana Sabau, offer clarification on Husch Blackwell investigation

    DOJ letter outlines USU football's culture of noncompliance with sexual misconduct

    Former USU football coach files lawsuit against university, sues for at least $15 million in damages


    Jason Walker



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